1           Edward J. Maney
            Chapter 13 Trustee
2           101 N. First Ave., Suite 1775
            Phoenix, Arizona 85003
3           Telephone (602) 277-3776
            ejm@maney13trustee.com
4
                                    IN THE UNITED STATES BANKRUPTCY COURT
5                                           FOR THE DISTRICT OF ARIZONA

6           In re:                                           )      CHAPTER 13 PROCEEDINGS
                                                             )
7                                                            )      CASE NO. # 2: 20-02179-BMW
                            FRANKY MORENO,                   )
8                                                            )      TRUSTEE'S EVALUATION AND
                                                             )      RECOMMENDATION(S) REPORT WITH
9                                                            )      NOTICE OF POTENTIAL DISMISSAL IF
                                                             )      CONDITIONS ARE NOT SATISFIED
10                                                           )      RE: CHAPTER 13 PLAN
                                            (Debtor(s)       )      docket #14      filed March 16, 2020
11

12                   Edward J. Maney, Trustee, has analyzed the Debtor’s Chapter 13 Plan and supporting

13          documents and submits the following evaluation and recommendation(s):
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       General requirements:
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            a.       Due to the possibility of errors on the claims docket, it is the attorney’s responsibility to review
17                   all proofs of claim filed with the Court and resolve any discrepancies between the claims and
                     the Plan prior to submitting any proposed Order Confirming Plan to the Trustee. Please
18                   submit a copy of the Court’s Claims Register with any submission of the Order Confirming.

19      b.           Requests by the Trustee for documents and information are not superseded by the filing of an
                     amended plan or motion for moratorium.
20
        c.           The Trustee will object to any reduction in the Plan duration or payout in a proposed Order
21                   Confirming Plan unless an amended or modified plan is filed and noticed out.

22      d.           The Debtors are required to provide directly to the Trustee, within 30 days after their filing,
                     copies of their federal and state income tax returns for every year during the duration of the
23                   Chapter 13 Plan. This requirement is to be included in any Order Confirming.
24      e.           The Trustee requires that any proposed Order Confirming Plan state: “The Plan and this
                     Order shall not constitute an informal proof of claim for any creditor.”
25
       f.            The Trustee requires that any proposed Order Confirming Plan state: “Debtor is instructed to
26                   remit all payments on or before the stated due date each month. Debtor is advised that when
                     payments are remitted late, additional interest may accrue on secured debts, which may result in
27
                     a funding shortfall at the end of the Plan term. Any funding shortfall must be cured before the
28                   Case can be discharged. This requirement is effective regardless of Plan payments
                     suspensions, waivers or moratoriums, and must be included in any Plan Confirmation Orders.”

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        g.   At the time of confirmation, the Trustee will require the Debtors to certify that they are current
5            on all required tax filings and any domestic support orders.
6       h.   At the time of confirmation, the debtor(s) are required to certify, via language in the Order
             Confirming, that they are current on all payments that have come due on any Domestic Support
7            Orders since the filing of their case and that they are current on all required tax return
             filings [pursuant to 11 U.S.C. §1308].
8
        i.   DEBTORS / DEBTORS’ COUNSEL REMINDER - A letter is to be submitted to the Trustee,
9
             accompanying any Order Confirming, addressing all issues as they are listed in the Trustee’s
10           Recommendation. In addition, all documents (ex: tax returns, paystubs etc.) submitted to the
             Trustee must be redacted – in compliance with Fed.R.Bankr.P.9037 -- by debtors and/or their
11           counsel.

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14     Specific Recommendations:
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16     1.    The Trustee requires the debtors supply a copy of statements that reveals the balance on
             hand - in all of their financial/bank accounts - on the date of the filing of their case.
17
       2.    The Plan proposes payment of the secured claim to Cash 1 (2002 Mazda Tribute) who has
18
             not filed a secured proof of claim. The Trustee requires the Debtor(s) to provide verification
19           of the creditor’s security interest by providing him with a copy of the security documents, such
             as a security agreement, UCC-1, title, deed of trust or the like. Moreover, the Trustee
20           requires that the Order Confirming Plan provide: “The Trustee has authority to pay on the
             secured debt owed to Cash 1 even though this creditor has not filed a secured proof of claim,
21           but the Plan and this Order are not an informal proof of claim for any creditor.” Alternatively, if
             the security interest cannot be verified by the Debtor(s), then the Debtor(s) may delete the
22           proposed treatment in a proposed order confirming plan:
             a.       pursuant to the language in Section (C)(5) of the Model Plan;
23           b.       after filing a motion and providing 28 days’ notice to the creditor of the intent to delete
                      the proposed secured treatment from the Plan; or
24           c.       by having the creditor, through its agent/representative or legal counsel, sign the order
                      confirming plan approving the treatment of its claim through the Plan.
25
       3.    The Debtors received significant tax refunds for 2019, which, if allowed to continue, would
26           constitute a diversion of projected disposable income. The Trustee requires the Debtors to
             adjust payroll tax deductions to prevent over- or under-withholding, amend Schedule I
27           increasing Plan payments accordingly and provide two consecutive pay stubs to verify this
             has been corrected OR turn over tax refunds for each year during the life of the plan (2020,
28
             2021 and 2022) as supplemental plan payments.

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6                   In summary, the Plan can be confirmed subject to the condition(s) noted above,
            adequate funding, and timely filed Stipulated Order Confirming, and Court approval. The
7           Trustee requires that any Stipulated Order Confirming contain the “wet” signatures from
            the debtors (where applicable), debtors counsel and objecting creditors if there are any.
8            General unsecured creditors (including secured creditors with unsecured deficiency balances)
            will be paid through the Trustee, approximately $26 or an estimated less than 1% of general
9           unsecured claims, subject to timely filed and allowed claims. Chapter 7 reconciliation
            requirement must be met given debtors’ scheduled equity in non-exempt property at petition
10          date. You are hereby advised that the Trustee may lodge an Order of Dismissal should
            Debtor fail to resolve item(s) #1 above and submit a Stipulated Order Confirming to the
11          Trustee for review and signature or request a hearing within 30 days from the date of the
            mailing of this Trustee's Recommendation.
12

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15
            Date See Electronic Signature Block
16

17

18                                                              EDWARD J. MANEY,
                                                                CHAPTER 13 TRUSTEE
19

20

21

22                                                            Edward Digitally   signed
                                                                        by Edward J.
23
                                                              J. Maney, Maney, Esq.
                                                                        Date: 2020.06.01
                                                              Esq.
24

25                                                      By:             11:08:55 -07'00'
                                                               _______________________________
                                                                Edward J. Maney ABN 12256
26                                                              CHAPTER 13 TRUSTEE
                                                                101 North First Ave., Suite 1775
27                                                              Phoenix, Arizona 85003
                                                                (602) 277-3776
28                                                              ejm@maney13trustee.com


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4
            Copies of the forgoing
5           mailed on [see electronic signature],
            to the following:
6

7

8
            Franky Moreno
9           3003 W. Roma Avenue
            Phoenix, Arizona 85017
10          Debtor

11

12
            Thomas A. McAvity, Esq.
13          4742 North 24th Street
            Suite #300
14          Phoenix, Arizona 85016
            Debtor’s counsel
15

16

17

18

19
                                          Digitally signed by
20                Susan     Susan Havermale

21                Havermale Date: 2020.06.01
                            12:10:47 -07'00'
            By:
22                   Trustee’s Clerk

23

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